Case 8:13-cr-00363-JSM-AEP Document 74 Filed 02/18/14 Page 1 of 7 PageID 213
Case 8:13-cr-00363-JSM-AEP Document 74 Filed 02/18/14 Page 2 of 7 PageID 214
Case 8:13-cr-00363-JSM-AEP Document 74 Filed 02/18/14 Page 3 of 7 PageID 215
Case 8:13-cr-00363-JSM-AEP Document 74 Filed 02/18/14 Page 4 of 7 PageID 216
Case 8:13-cr-00363-JSM-AEP Document 74 Filed 02/18/14 Page 5 of 7 PageID 217
Case 8:13-cr-00363-JSM-AEP Document 74 Filed 02/18/14 Page 6 of 7 PageID 218
Case 8:13-cr-00363-JSM-AEP Document 74 Filed 02/18/14 Page 7 of 7 PageID 219
